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              Exhibit 208
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July 21, 2022

Vanessa A. Countryman
Secretary
U.S. Securities and Exchange Commission
100 F Street, NE
Washington, DC 20549-1090

Re: Petition for Rulemaking – Digital Asset Securities Regulation

Dear Ms. Countryman:

Coinbase Global, Inc. (“Coinbase”) is filing this petition1 with the U.S. Securities and Exchange
Commission (“Commission” or “SEC”) requesting that the Commission propose and adopt rules
to govern the regulation of securities that are offered and traded via digitally native methods,
including potential rules to identify which digital assets are securities. Digitally native securities
are recorded and transferred using distributed ledger technology and do not rely on centralized
entities or certificated forms of ownership that characterize traditional financial instruments.2
Transactions in these securities (henceforth “digital asset securities”) are executed and settled in
real time, permanently recorded on blockchains, and visible with equal access to all market
participants. This is a paradigm shift from existing market practices, rendering many of the
Commission rules that govern the offer, sale, trading, custody, and clearing of traditional assets
both incomplete and unsuitable for securities in this market.

The U.S. does not currently have a functioning market in digital asset securities due to the lack of
a clear and workable regulatory regime. Digital assets that trade today overwhelmingly have the
characteristics of commodities. Coinbase, like many other exchanges, has intentionally and
conscientiously steered well clear of securities to ensure that we are able to operate in full
compliance with applicable laws and regulations. However, new rules facilitating the use of digital
asset securities would allow for a more efficient and effective allocation of capital in financial
markets and create new opportunities for investors.

Globally, many jurisdictions are actively pursuing regulation that meets the specific needs of the
crypto market, ensuring investors are well-protected. For example, the EU recently reached
agreement on Markets in Crypto Assets (MiCA) regulation first proposed in 2020, and countries
and markets such as Australia, Brazil, Dubai, Hong Kong, Switzerland, and the United Kingdom
have taken important steps towards establishing (or have already established) regulations around
crypto.3

    1
        See 17 C.F.R. 201.192(a).
    2
       In this petition we are focused on “native” digital asset securities—that is, digital asset securities that
exist on a distributed ledger, only in tokenized form. Many, but not all, of the considerations discussed herein
would apply similarly to digital asset securities that represent a tokenized version of a traditional security
(e.g., tokenized common stock).
     3
       Council of the EU, Digital finance: agreement reached on European crypto-assets regulation (MiCA)
(June 31, 2022),
https://www.consilium.europa.eu/en/press/press-releases/2022/06/30/digital-finance-agreement-reached-on-
european-crypto-assets-regulation-mica/; Australian Government, The Treasury, Crypto asset secondary
service providers: Licensing and custody requirements (Consultation Paper) (Mar. 21, 2022),
https://treasury.gov.au/consultation/c2022-259046; Chamber of Deputies, Projeto de Lei Nº 4401, De 2021,
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The SEC, however, has not yet taken constructive steps in this direction. Despite the
well-recognized growth and rapidly developing practices in the digital asset ecosystem, and the
Commission’s stated view that some digital assets are securities, the Commission has yet to
constructively engage with digital asset market participants on the design of a workable
regulatory framework, let alone propose any new rules governing this activity. Moreover, as of the
publication of its most recently updated regulatory agenda on June 22, 2022, the Commission
has not indicated any intention to do so.4

Instead, the Commission appears to be following an enforcement-first approach to addressing
crypto-related regulatory challenges. Indeed, the Commission recently announced that the
Enforcement Division’s Crypto Assets and Cyber Unit would soon double in size. 5 Leading with
enforcement actions before ensuring regulatory clarity results in arbitrary outcomes with limited
value as guiding precedent. Several parties have been the subject of extensive investigation
while others—with nearly identical products or services—have apparently been subject to none.
This approach has led to both confusion and the uneven treatment of market participants.

Rather than initiate new rulemaking, Chair Gensler has repeatedly stated through speeches and
testimony that the vast majority of digital tokens are securities, and has asked issuers and
exchanges that offer, sell, and trade them to come in and register.6 We disagree that the majority
of digital assets are securities. For those digital assets that are securities, registration under the
current rules is, for many market participants, either not possible or not economically viable given
the associated and unnecessary compliance burdens. Additionally, when existing regulations are
unworkable, some market participants may be less willing to invest the resources necessary to
follow the rules. Failure to resolve these shortcomings leaves investors unprotected due to a lack
of regulatory clarity, prevents market participants from leveraging the efficiencies new technology
can offer, and materially impairs capital formation in the blockchain technologies that underlie
digital assets. This is wholly inconsistent with the SEC’s mission.

(Aug. 21, 2021), https://www.camara.leg.br/propostas-legislativas/1555470; Dubai Financial Services
Authority, Consultation Paper No. 143, Regulation of Crypto Tokens (Mar. 8, 2022),
https://dfsaen.thomsonreuters.com/sites/default/files/net_file_store/CP143_Regulation_of_Crypto_Tokens.p
df; Legislative Council of Hong Kong, Anti Money Laundering and Counter-Terrorist Financing (Amendment)
Bill, (June 24, 2022), https://www.gld.gov.hk/egazette/pdf/20222625/es32022262516.pdf; Swiss Federation,
Federal Act on the Adaptation of Federal Law to Developments in Distributed Electronic Ledger Technology
(Jan. 14, 2021), https://fedlex.data.admin.ch/eli/fga/2020/2007; HM Treasury, Government Sets Out Plan to
Make UK a Global Cryptoasset Technology Hub, (Apr. 4, 2022),
https://www.gov.uk/government/news/government-sets-out-plan-to-make-uk-a-global-cryptoasset-technology
-hub.
      4
        The Commission submitted its agenda of rulemaking actions pursuant to the Regulatory Flexibility Act
on April 26, 2022, to the Regulatory Information Service Center for inclusion on the Unified Agenda of
Federal Regulatory and Deregulatory Actions. The agenda that was published did not indicate any
rulemaking actions to be considered in the current agenda (next 12 months) or the long-term agenda that
relates to digital asset regulation.SEC, SEC Announces Spring 2022 Regulatory Agenda (June 22, 2022),
https://www.sec.gov/news/press-release/2022-112.
      5
        SEC, SEC Nearly Doubles Size of Enforcement’s Crypto Assets and Cyber Unit (May 3, 2022),
 https://www.sec.gov/news/press-release/2022-78.
      6
        See, e.g., Sander Lutz, SEC Chair Gensler Threatens Action Against Unregistered Crypto Exchanges
(May 18, 2022),
https://decrypt.co/100806/sec-chair-gensler-threatens-action-against-unregistered-crypto-exchanges (stating
to the House Financial Services and General Government Subcommittee that “[t]he crypto exchanges
should come in and register . . .”); Public Statement, Chair Gary Gensler, SEC, 2021 Aspen Security Forum:
The View from the SEC: Cryptocurrencies and National Security (Aug. 3,
2021), https://www.youtube.com/watch?v=tusQLLCgrDs (inviting digital asset trading platforms to “come in,
register, work with the SEC.”).
                                                     2
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In October 2021, we issued our Digital Asset Policy Proposal – Safeguarding America’s Financial
Leadership through which we hoped to initiate a broad and wide-ranging conversation about the
role digital assets play in our economic future.7 As part of that proposal, we offered a bold idea to
regulate digital assets under a separate framework with a single regulator as a way to ensure that
investors are properly protected and innovation can occur without, what we believe, may be
restricting and cumbersome labels of security and commodity. Our proposal would require a
government-wide focus to create a fundamentally new and comprehensive regime for digital
assets. We remain committed to continuing the discussion about the right way to regulate digital
assets. This petition, however, is more specific. We are seeking a transparent and collaborative
process to engage directly with the SEC as a means to initiate a discussion about what the SEC
can do within its own authority to provide clarity and certainty regarding the regulatory treatment
of digital asset securities.

Coinbase firmly believes that a new regulatory framework is needed to ensure that the SEC can
fulfill its responsibility to oversee the digital asset securities markets. We respectfully petition the
Commission to propose new rules for the offer, sale, registration, and trading of digital asset
securities. Existing rules, unchanged, do not achieve the goals of the Commission when applied
to digital asset securities. Following the well-established rulemaking process would allow for
input from a wide range of stakeholders, advance the goals of transparent and orderly policy
development, and result in clear rules and fair notice to all market participants.

Now is the time for the Commission to begin a public dialogue. The recent collapse of the
TerraUSD stablecoin, the bankruptcy of crypto-lenders such as Celsius, ongoing questions about
the efficacy of how digital asset markets operate, and the potential onset of another crypto winter
can help inform a regulatory path forward. The lessons learned can be used to reinforce the best
practices, and guide the industry in building new infrastructure and product offerings. Establishing
regulatory guardrails is critical to the future success of digital asset innovation in the United
States.

As an initial step, the Commission should solicit input from the public. Many of the unresolved
issues are complicated, and developing effective and efficient solutions will require a broad
understanding of the technology underpinning developing market practices and products. We
believe that we and other market participants will also benefit from an open discussion. The
Commission has historically published concept releases for large, novel, or complicated issues,
commensurate with the issues related to regulation of digital assets; such public engagement
would be an appropriate model to follow here.8

As part of this process, the Commission should also consider whether appropriately tailored
interpretive guidance and no-action relief could be used to facilitate new activities within existing
regulatory frameworks. Doing so will provide the Commission with an opportunity to assess the
efficacy of emerging market practices with the ability to later promulgate rules, if appropriate. Any
such guidance and other relief must avoid imposing new requirements or exercising
policy-making authority that is more appropriately conducted through notice and comment
rulemaking pursuant to the Administrative Procedure Act.

7
  Coinbase, Digital Asset Policy Proposal – Safeguarding America’s Financial Leadership, (Oct. 2021),
https://assets.ctfassets.net/c5bd0wqjc7v0/7FhSemtQvq4P4yS7sJCKMj/a98939d651d7ee24a56a897e2d37e
f30/coinbase-digital-asset-policy-proposal.pdf.
     8
       SEC, Concept Release on Equity Market Structure (Jan. 14, 2010),
https://www.sec.gov/rules/concept/2010/34-61358.pdf; SEC, Concept Release on the U.S. Proxy System
(July 14, 2010), https://www.sec.gov/rules/concept/2010/34-62495.pdf.
                                                    3
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It is imperative that the Commission start this process now. Digital asset securities have not yet
been widely offered on regulated platforms because the existing rules do not accommodate them.
Until the Commission provides regulatory certainty and a workable framework for digital asset
securities, it is not feasible for market participants to “come in and register.”9 And the inability to
do so risks not only stunting the development and growth of this market, but also invites those
least committed to regulatory compliance to exploit existing ambiguities.

If the U.S. fails to act alongside the efforts of other jurisdictions, global market practices will
conform to rules tailored to the preferences of foreign authorities. And once market participants
begin implementing foreign rules, the regulatory options available to the Commission will become
more limited in order to avoid substantially raising compliance costs of U.S. firms operating
internationally. The U.S. has historically been the world’s leader in maintaining and regulating
unparalleled capital markets; action is needed to preserve that position for the digital asset
securities market.

As the only U.S. public company that operates a digital asset trading platform, Coinbase
understands the value of market oversight through clear and workable regulation, and we
welcome opportunities to work with policymakers to build a safe, open, and fair crypto ecosystem.
We believe appropriately tailored regulation is essential to encouraging capital formation in the
digital asset industry, protecting digital asset customers and investors, and facilitating the wider
adoption of digital asset technology. We do not currently trade or facilitate trading in digital asset
securities because of a lack of clear and workable regulation. But we would consider doing so
through our SEC-registered securities broker-dealer subsidiaries10 once rules are in place that
can accommodate the technological manner in which digital asset securities would be offered,
sold, traded, custodied, and cleared.

In petitioning the Commission for rulemaking we recognize that existing regulatory questions will
be challenging to solve. We know because we have spent more than a year thinking about how to
do it. Last October we published a set of principles that we believe should underpin a regulatory
framework.11 And now we offer views on a set of detailed questions that we believe should be
answered as part of the process necessary to implement an effective regulatory framework for
digital asset securities that promotes the SEC’s mission, achieves key regulatory objectives, and
encourages innovation that benefits market participants.

Our petition focuses only on areas in which we believe we have expertise, and should not be
viewed as a comprehensive list of issues and questions related to the regulation of digital asset
securities. For example, regulation pertaining to the Investment Company Act of 1940 and the
Investment Advisers Act of 1940 would benefit from consideration through a similar process that
solicits the input from knowledgeable market participants. We encourage the Commission to
initiate a process to solicit input from areas of the market not covered by our petition.




    9
        Gary Gensler, Prepared Remarks of Gary Gensler On Crypto Markets Penn Law Capital Markets
Association Annual Conference (Apr. 4, 2022),
https://www.sec.gov/news/speech/gensler-remarks-crypto-markets-040422.
     10
        Coinbase Securities, Inc. and Coinbase Capital Markets Corp.
    11
        See, e.g., Coinbase’s Digital Asset Policy Proposal (#dApp) at
https://assets.ctfassets.net/c5bd0wqjc7v0/7FhSemtQvq4P4yS7sJCKMj/a98939d651d7ee24a56a897e2d37e
f30/coinbase-digital-asset-policy-proposal.pdf.
                                                  4
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Key Considerations

There are three primary challenges when applying existing rules to digital asset securities:

    1. Lack of clarity regarding how to determine whether a digital asset is a security;

    2. Requirements that are fundamentally incompatible with the operation of digital asset
       securities; and

    3. Requirements that are technically possible, but unnecessary or overly burdensome as
       compared to potential alternative and more efficient rules.

Although Coinbase, and other digital asset trading venues, have identified a number of digital
assets that are clearly not securities, and therefore may trade without SEC registration, there are
other assets that are harder to classify relying on the SEC’s application of the Howey and Reves
tests. Many of the questions we ask below highlight the challenge of identifying which of these
digital assets, if any, fall within the Commission’s jurisdiction, the lack of clarity with existing
regulatory requirements, and the ways in which the existing regulatory requirements are
fundamentally incompatible with the operation of digital asset securities.

Other questions reflect requirements for which compliance is possible, but otherwise not
well-suited to digital asset securities premised on distributed-ledger technology. For example,
custody requirements contemplate a broker-intermediated model—such as national securities
exchanges use today—that is unnecessary for real-time settlement on blockchains. Each of the
questions is also fundamentally tied to the determination of whether a digital asset is a security.
Certainty on the applicable regulatory framework would not only provide greater protection for
investors, but also permit the formation of an efficient digital asset market environment.

Finally, in addressing these questions, we believe the Commission should consider the following:

    1. Not All Digital Assets Are Securities

Most digital assets are designed to enable simple functions that provide economic gates to
commercial applications and services. They are not securities. Their value is determined by
adoption and use, and the disclosures that token holders need are materially different from those
of a public company. The issuer registration, disclosure, and listing requirements for securities are
currently tailored to the issuers of debt and equity in public companies. But most digital
assets—coins and tokens that trade on exchanges like Coinbase—do not represent ownership
stakes in complicated public companies or pay a return to investors through dividends or interest.

The Commission should provide clarity regarding which digital assets, if any, are securities.The
lack of clarity creates a risk that issuers of non-security digital tokens will feel compelled to
comply with public company reporting requirements that are unnecessary, may lead to investor
confusion, and may render innovative blockchain projects not economically viable despite the
value they could bring to users and the broader economy.

    2. Needed Disclosures Are Different

The SEC disclosure regime has historically focused on ensuring that investors have material
information necessary to make an informed investment decision. Current disclosure
                                               5
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requirements, however, do not cover a number of features unique to digital assets that would
undoubtedly be considered important when making an investment decision. For example,
investors would likely find information about the risk of a network attack, what kind of governance
rights are embedded in which tokens, who has the ability to change the code underlying the
assets or the network, and other features that do not exist with respect to traditional securities to
be material. Additionally, investors would benefit from comparable disclosures across each digital
asset security to assist in identifying differences among investment opportunities. At the same
time, the operations of a digital asset issuer are typically less complex than those of a large public
company, so investors would likely not require the same level of disclosure in several areas
relevant to traditional public companies to make an informed decision.

    3. Real-Time Settlement of Financial Transactions is Possible

Digital assets and blockchain technology hold the promise of a more efficient and resilient
plumbing for financial transactions. This new infrastructure is being built, from the start, to enable
peer-to-peer operability with straight-through-processing between different types of service
providers. The decentralized structure prevents any one service provider from being the sole gate
between market participants. The result is enhanced competition, more seamless services, faster
settlements, greater transparency, and the opportunity to automate complex financial
transactions. The opportunity to eliminate unnecessary gates and layers of intermediation should
ultimately lead to enhanced investor protections (for example by improving market transparency
by recording transactions on a public blockchain), improved functionality, and lower transaction
costs.

Today’s rules, however, do not allow for securities markets to take advantage of these
improvements. For example, existing custody rules do not contemplate real-time settlement of
transactions on blockchains. They are tailored for trades that typically take two days to settle
through a series of intermediaries who must manage default during that period. Real-time
settlement on blockchains obviates this need, allowing counterparties to redeploy their capital
immediately, improving the allocative efficiencies of markets relative to current practices. Other
rules, particularly those promulgated by Regulation National Market System (“NMS”), do not
contemplate digitally native securities, and do not provide a clear compliance path for blockchain
transactions.

    4. Fewer Market Intermediaries Are Required

Another important innovation of digital asset markets is the ability to conduct reliable transactions
without the need for third-party intermediaries. Trading platforms like Coinbase offer direct access
to both retail and institutional traders, letting them execute transactions 24 hours a day, seven
days a week. However, rules designed for securities markets trading predate blockchain
technology, when the only way to create trust in the financial system was to require the use of
separate intermediaries, such as brokers, custodians, exchanges, market makers, transfer
agents, and clearing agencies, each with conflicting interests and incentives. Ensuing regulations
were premised on the existence of, and need to regulate these intermediaries, enshrining them
and their role in law.12

    12
        For additional exploration of the existing regulatory framework, and why it is not properly tailored for
digital asset markets, see Coinbase’s Digital Asset Policy Proposal (#dApp) at
https://assets.ctfassets.net/c5bd0wqjc7v0/7FhSemtQvq4P4yS7sJCKMj/a98939d651d7ee24a56a897e2d37e
f30/coinbase-digital-asset-policy-proposal.pdf.
                                                       6
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Historical intermediation models should be permitted where they continue to add value, but not
required when they do not or other methods achieve the same goal. For example, intermediaries
should not be required when a transaction can be completed through alternative technological
means that achieve the same regulatory objective. Just as regulatory and legislative
developments were necessary to address the transition from a paper-based financial system to a
computer-based system, a modernization effort is needed today to address the novel features
and benefits of blockchain technology.

Key Questions

Each of these goals cannot be achieved without rethinking and reframing specific parts of existing
securities regulation so that it is more efficient and effective for digital asset securities in the
context of distributed-ledger technology. In the following sections, we provide an outline to frame
the topic and follow with a number of questions that we believe are important to consider as part
of any rulemaking exercise. We have views with respect to each and over time will seek to further
share our perspectives. We strongly encourage other market participants to do the same. Our
“answers” are just one of many relevant voices, and we hope for and expect a robust discussion
that productively informs the Commission and its Staff.

   I.    Classification of Digital Assets as Securities

The threshold question in the development of a regulatory framework for digital asset securities is
the determination of whether a particular digital asset is in fact a security, and thus subject to the
Commission’s jurisdiction and the securities laws.13 The Commission has taken the view that if a
digital asset is a security, its regulatory oversight applies to all aspects of the lifecycle of the
security and the parties that are involved in it, including the initial offering of that digital asset as
well as any subsequent trading by investors and their dealings with intermediaries.14

The determination of whether a non-traditional asset (such as a digital asset) is a security relies
heavily on legal tests developed by case law and ultimately Supreme Court decisions. Where the
characteristics of an instrument do not clearly fit into one of the well-settled terms, the SEC and
federal courts typically analyze whether the instrument is a “security” through the lens of the


     13
        A “security” is defined in the federal securities laws by reference to lists of instruments that include,
for example, stocks and notes like bonds issued by companies. See Section 2(a)(1) of the Securities Act
(defining a security as “[A]ny note, stock, treasury stock, security future, security-based swap, bond,
debenture, evidence of indebtedness, certificate of interest or participation in any profit-sharing agreement,
collateral-trust certificate, preorganization certificate or subscription, transferable share, investment contract,
voting-trust certificate, certificate of deposit for a security, fractional undivided interest in oil, gas, or other
mineral rights, any put, call, straddle, option, or privilege on any security, certificate of deposit, or group or
index of securities (including any interest therein or based on the value thereof), or any put, call, straddle,
option, or privilege entered into on a national securities exchange relating to foreign currency, or, in general,
any interest or instrument commonly known as a “security”, or any certificate of interest or participation in,
temporary or interim.”) Despite differences, the Supreme Court has indicated that the definitions of “security”
under the Securities Act and the Exchange Act are treated the same. SEC v. Edwards, 540 U.S. 389, 393
(2004), citing Reves v. Ernst & Young, 494 U.S. 56, 61 n.1 (1990). In addition, the “elements of Howey are
also applicable to the [Investment Company Act].” SEC v. Banner Fund Int’l, 211 F.3d 602, 614 n.* (D.C. Cir.
2000).
    14
        See U.S. Sec. & Exch. Comm’n, Chair Gary Gensler Letter to Sen. Warren (Aug. 5, 2021),
https://www.warren.senate.gov/imo/media/doc/gensler_response_to_warren_-_cryptocurrency_exchanges.p
df.
                                                         7
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Howey15 and Reves16 tests. However, these tests were developed before the emergence of digital
assets and are not tailored to their unique properties and use. As a result, application of these
existing tests to digital assets fails to take into account the unique characteristics of digital assets.

The differences between traditional securities and digital assets underscore the challenges with
applying these tests to digital assets. While traditional securities typically represent a claim to the
assets and profits of a specific corporate issuer, whose management makes choices that
influence the success of the company and therefore the return on investment in its securities,
digital assets often have decentralized groups of developers whose involvement with a project
may ebb and flow over time. The extent to which digital asset holders reasonably rely on the
efforts of particular promoters, or the extent to which those efforts are “undeniably significant
ones”17 is much less clear with regard to digital assets.

Further, while many may purchase digital assets with the hope of price appreciation, unlike
traditional securities, digital assets typically have functional non-investment uses within a
protocol—making them much more akin to real property, which is also often purchased with the
hope of price appreciation, but nevertheless is fundamentally a commodity intended for usage.18
Non-investment use cases include, for example: paying transaction, or “gas” fees; voting on
governance proposals related to the operation of the protocol; serving as a medium of exchange
for native applications; and helping secure a network.

Coinbase has developed a rigorous process to analyze and review each digital asset, before
making any digital asset available on its platforms. These processes ensure that Coinbase is not
facilitating transactions in or providing trading infrastructure for digital asset securities. Due to
today’s substantial regulatory uncertainty, Coinbase is over-inclusive in what it views as a
potential security, out of an abundance of caution to ensure that its practices comply with existing
applicable law. Coinbase therefore often excludes digital assets based on the mere possibility
that they might be securities.

Not all market participants have the resources to apply the same rigorous process. This in turn
can result in significant burdens in meeting the Commission’s expectation that each market
participant conduct and document its own legal analysis for each and every digital asset with
which it interacts.19

Applying the Howey and Reves tests piecemeal to an entire market sector has proven itself to be
an unworkable solution. The SEC needs to provide clarity on the question of what, in the context
of digital assets, constitutes a security. This may be achieved by defining a digital asset security
through rulemaking, through the creation of a digital asset security offering exemption, or through
other regulatory actions. In particular, such a rule should be objective and clear such that it

    15
         SEC v. W.J. Howey Co., 328 U.S. 293 (1946) (resulting in the so-called “Howey test”).
    16
         Reves v. Ernst & Young, 494 U.S. 56 (1990) (resulting in the so-called “Reves test”).
    17
        SEC v. Glenn W. Turner Enter., Inc., 474 F.2d 476, 482 (9th Cir.).
    18
        Cf. United Hous. Found., Inc. v. Forman, 421 U.S. 837, 849 (1975).
     19
       See SEC Strategic Hub for Innovation and Financial Technology Letter to the New York State
Department of Financial Services (Jan. 27, 2020),
https://www.sec.gov/files/staff-comments-to%20nysdfs-1-27-20.pdf (“Market participants should not rely on a
model framework, whitelist, or state license when evaluating compliance with the federal securities laws –
without also undergoing careful legal analysis under the federal securities laws” supported by, for example,
“opinion[s] of securities counsel.”).
                                                        8
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produces predictable, consistent and replicable results, and can be applied by all market
participants.

For example, the rule should address, consistent with applicable case law, when an “investment
of money” has or has not occurred. If the SEC is of the view that airdrops (i.e., digital assets
provided free of payment) constitute an investment of money—a position that is likely
irreconcilable with case law20—it should clearly state that position and clarify in which
circumstances that would be the case. Similarly, unlike traditional securities whose sole purpose
is to represent an investment, digital assets often provide functionality, utility, or a consumptive
use, aside from any speculative value. The Supreme Court has noted that “when a purchaser is
motivated by a desire to use or consume the item purchased . . . the securities laws do not
apply.”21 Further, even if the value of an asset, like a dwelling or precious metal, may appreciate,
and even if some purchasers may purchase the asset with speculative intent, that does not
necessarily convert the consumable asset into a security. The proposed SEC rulemaking
therefore should be explicit, in the digital asset context, as to the Commission’s view on how the
presence or lack of functionality, consumability, and/or utility of the digital asset impacts (and
negates) its status as a security.

Given the complexity of the issue, the Commission should seek public input on the classification
of digital assets as securities in advance of, or as part of, any proposed rulemaking related to
these issues.

Key questions for the Commission to consider and seek public input on:

1) Are the Howey and Reves tests the appropriate tests for determining whether digital assets
   are securities?

    a) What risks were these tests designed to identify and are those risks consistently
       presented in digital asset securities?

    b) How should the use and utility of a digital asset, apart from any potential investment
       purpose, impact the analysis?

    c) Are these tests capable of consistent application to digital assets by issuers,
       intermediaries, and other market participants? Does this application lead to results that
       are conducive to advancing the SEC’s mission and promoting innovation? Does the
       application of the Howey and Reves tests to the specific facts and circumstances of each



    20
        SEC v. Rubera, 350 F.3d 1084, 1090 (9th Cir. 2003), quoting Hector v. Wiens, 533 F.2d 429, 432 (9th
Cir. 1976). While in the context of analyzing whether a “sale” of a particular security occurred, there may be
arguments that any form of benefit to an issuer could be sufficient consideration to constitute a sale subject
to Section 5 of the Securities Act. See, e.g., SEC, SEC Brings First Actions to Halt Unregistered Online
Offerings of So-Called “Free Stock” (July 22, 1999), https://www.sec.gov/news/headlines/webstock.htm. The
question under Howey, however, is whether the asset is a security in the first place, which requires there to
be an investment of money, not that the distribution of the asset provided a non-monetary benefit to the
issuer. See also Joseph A. Hall, Howey, Ralston Purina and the SEC’s Digital Asset Framework, 52 REV.
OF SEC. & COMMODITIES REG. 137 (June 19, 2019),
https://www.davispolk.com/files/howey_ralston_purina_sec_digital_asset_framework.pdf (questioning the
Digital Asset Framework’s “seemingly contradictory” assertion that the “investment of money” prong of
Howey can be satisfied without an investment of money).
     21
        United Hous. Found., Inc. v. Forman, 421 U.S. 837, 849 (1975).
                                                      9
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           digital asset result in inefficient markets, an inconsistent application of the law, and/or
           other adverse consequences?

2) Should the SEC use its exemptive authority under Section 28 of the Securities Act of 1933
   (the “Securities Act”) and Section 36 of the Securities Exchange Act of 1934 (the “Exchange
   Act”) to exempt certain transactions (e.g., those for consumptive use) in certain digital assets
   that may otherwise be securities but for which—for the reasons explained in the remaining
   sections of this petition—the existing regulatory regime is inappropriate?22 If such
   transactions are exempted, should an alternative regime be applied and what should that
   regulation look like?

    a) Should the Staff reconsider the view in the Digital Asset Framework that receipt of tokens
       without investing money may nonetheless satisfy the “investment of money” prong under
       Howey?

           i)    If not, how does the Staff reconcile this position with existing case law, which requires
                 a recipient to “commit his assets to the enterprise in such a manner as to subject
                 himself to a financial loss”?23

    b) How should digital assets that provide significant non-investment use cases (e.g., paying
       transaction, or “gas” fees; voting on governance proposals related to the operation of the
       protocol; serving as a medium of exchange for native applications; and helping secure a
       network) be analyzed under the “reasonable expectation of profits” prong of Howey?

           i)    Would a finding that such digital assets satisfy this prong conflict with Supreme Court
                 precedent, which has stated that where a purchaser is not “‘attracted solely by the
                 prospects of a return’ on his investment . . . [but] is motivated by a desire to use or
                 consume the item purchased . . . the securities laws do not apply”? More generally,
                 how should “consumption” factor into the investment contract analysis, giving due
                 regard to the Court’s decision in United Housing v. Forman?24

           ii)   How should market participants regard digital assets that provide both investment
                 uses and non-investment-based consumptive uses, in light of Howey case law that
                 explains the existence of speculative purchasers of an asset and the potential to sell
                 an asset for more than you paid for it does not, on its own, mean that the asset is an
                 investment contract under Howey?



    22
       Section 28 of the Securities Act provides that “[t]he Commission, by rule or regulation, may
conditionally or unconditionally exempt any person, security, or transaction, or any class or classes of
persons, securities, or transactions, from any provision or provisions of this subchapter or of any rule or
regulation issued under this subchapter, to the extent that such exemption is necessary or appropriate in the
public interest, and is consistent with the protection of investors.” Section 36 of the Exchange Act provides
that, subject to certain exceptions inapplicable here, “the Commission, by rule, regulation, or order, may
conditionally or unconditionally exempt any person, security, or transaction, or any class or classes of
persons, securities, or transactions, from any provision or provisions of this chapter or of any rule or
regulation thereunder, to the extent that such exemption is necessary or appropriate in the public interest,
and is consistent with the protection of investors.”
    23
         See supra note 19.
    24
         421 U.S. 837.
                                                     10
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        iii) How should the “efforts of others” prong of the Howey test be understood with
             respect to the “expectation of profits” prong? How relevant is the presence of price
             fluctuations on secondary trading platforms to the Howey analysis, given that the
             price may fluctuate based on the supply and demand of the digital asset for its
             consumptive use?

        iv) How should the “expectation of profits” prong be understood to ensure that it does
            not include digital commodities, where even if bought by a particular buyer with the
            hope of profit, any such profit is based on supply and demand for the commodity, not
            the performance of the issuer?

    c) What efforts may be properly classified as “essential managerial efforts” for digital assets
       that operate on permissionless blockchains or protocols, where independent, unaffiliated
       nodes are responsible for processing transactions, securing the network, and approving
       software implementations, or where such separate parties may be involved in proposing
       or implementing changes to the network or system?

        i)   How can purchasers be reliant upon the efforts of others in the case of digital assets
             that have no identifiable central party that could be recognized as an “issuer”?

3) Recognizing the importance of creating a predictable framework for market participants, how
   can the SEC provide greater clarity and certainty on which digital assets constitute securities?
   Should the Staff revisit the Digital Asset Framework and provide bright-line rules that could be
   applied more consistently and predictably?

4) Following a reconsideration of, or an exercise of exemptive authority for, the application of the
   Howey and Reves tests to digital assets, should the SEC conduct formal or informal public
   evaluations, such as through a no-action letter or other consultative process, to decide
   whether a digital asset is a security? Who should be able to seek, and rely on, such a
   determination?

5) Should other parties, such as the original promoters, be able to make similar determinations
   that—absent a formal disagreement from the SEC—third-party market participants could rely
   on? Should those determinations have to follow a particular process? If so, should there be
   a timeline during which the Commission must respond?

6) Should a digital asset be viewed independently from the transaction in which it was initially
   sold—such that the sale may have been a securities transaction, but the asset is not a
   security? In a traditional company, the company may produce a product that it sells, and from
   which it derives its profits. The shareholders share in these profits. A digital asset issuer,
   however, may sell its tokens to raise capital to develop the network on which those same
   tokens will be used. The product and the security are represented by the same digital asset,
   creating a unique coincidence of investment, on the one hand, and use and consumption, on
   the other.

7) Does the current manner in which the Howey test is applied result in or promote the
   maintenance of fair, orderly, and efficient markets consistent with the SEC’s tripartite mission?




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8) Does the current manner in which the Howey test is applied result in sufficient certainty and
   consistency to protect investors in a manner that is consistent with the SEC’s jurisdiction and
   tripartite mission?

9) Does the current manner in which the Howey test is applied result in sufficient certainty and
   consistency to facilitate capital formation in a manner that is consistent with the SEC’s
   jurisdiction and tripartite mission?

10) In practice, how does a digital asset security transition to be a non-security digital asset?
    What constitutes “sufficient decentralization” for purposes of transitioning from a security to a
    non-security?25 How would that determination be made and what would be the mechanism for
    converting a digital asset from a security to a non-security?

    a) Is there a difference, or should there be one, depending on whether the digital asset was
       initially sold in an offering that did not comply with the federal securities laws, or was
       instead initially sold pursuant to a registration exemption (such as Regulation D or
       Regulation S)?

    b) Must the path to sufficient decentralization be predetermined at the time of the digital
       asset’s launch, or may decentralized attributes be introduced over time?

11) Even if initially sold in a securities offering, can uses of a digital asset for non-investment
    purposes (e.g., to use the asset for its actual technological purpose), including transactions
    on the secondary market to acquire the digital asset for such non-investment purposes, be
    deemed to be non-securities transactions?

  II.    Issuance of Digital Asset Securities

             A. Registration and Exemptions

The federal securities laws require that the offer or sale of any security be registered with the
Commission, unless an exemption is available.

Registration under Section 5 and Section 12 must be sought by the issuer of the security.26 Given
the nature of digital securities, however, it may not be either feasible or necessary to identify an
“issuer” as required under the securities laws. When an issuer registers an offering, it provides a
number of disclosures about the operation of the issuer, its financial statements, its leadership,
what risks it may face, and information about various other parts of the business. The purpose
behind registration, and therefore requiring these disclosures, is to ensure that investors have the
material information they need to make informed decisions. The insiders of the issuer, such as
management, have information about the issuer that will affect the value of its securities and
therefore the disclosure rules require the insiders to make material information public.



    25
        William Hinman, Digital Asset Transactions: When Howey Met Gary (Plastic) (Jun. 14, 2018)
https://www.sec.gov/news/speech/speech-hinman-061418 (expressing the view that “current offers and
sales of Ether are not securities” because Ether had become “sufficiently decentralized.”).
     26
        See, e.g., Form S-1, Form 10 (each requiring execution by a representative of the prospective
registrant).
                                                     12
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In many cases, however, the value of a digital asset—unlike the value of stocks and bonds—is
not dependent on the operations of the issuer or the issuer’s financial condition. Rather, the value
of a digital asset routinely depends on the general supply and demand for using the digital asset.
In such cases, there is little information possessed by the issuer that is unavailable to the public
or that impacts the value of the digital asset, making traditional securities disclosures about the
issuer irrelevant to holders of digital assets. In fact, the typical information that the federal
securities laws require public companies to disclose presents the risk of misleading investors in
digital assets, who may believe this information to be material to their investment decision
because the SEC mandated its disclosure.

There are, additionally, digital assets that are created or managed by a diffuse group of
individuals, who are not a central “team” at all. Some digital assets are developed by dispersed
groups of individuals who may not even know each other’s true identities. Current application of
existing securities regulations may treat this group as the “issuer” but there is little insider
information that this group has, and requiring them to coordinate and assume liability for
disclosures would be both impracticable and futile. In such circumstances, the kind of information
asymmetries that the federal securities laws are designed to remedy do not exist.27

Mandated disclosures serve a regulatory purpose when there is material information to be
pushed out into the market. A diffuse collection of individuals may not have such information to
disclose. The SEC’s Digital Asset Framework suggests that these dispersed groups may be
“Active Participants,” or “APs,” whose efforts are relevant for determining whether the digital asset
is itself a security. But the framework does not itself provide a determinative test for identifying
who qualifies as an AP, or specify if these APs are subject to the registration requirements of
Section 5 and Section 12.28

If the digital asset is a security, then failure to register would violate Section 5 and subject the
“issuer” to penalties. But failure to register does not only impact the issuer—it also makes it
effectively impossible for national securities exchanges and other secondary markets to lawfully
facilitate trading of the digital asset security. U.S. digital asset securities markets, like on that
Coinbase may develop, that seek to comply with the U.S. federal securities laws therefore may
not facilitate trading in these assets; instead, trading for these assets occurs on less
well-regulated and/or offshore platforms where there is little oversight or investor protections.
Exceedingly few issuers have successfully registered a digital asset security under Section 5 and
Section 12,29 with many others having failed in attempts to do so.30 As a result, very few digital

    27
        Hinman, supra note 24.
    28
        SEC Staff, Framework for “Investment Contract” Analysis of Digital Assets,
https://www.sec.gov/files/dlt-framework.pdf.
    29
        See INX Limited, Prospectus Supplement,
https://www.sec.gov/Archives/edgar/data/1725882/000121390020023202/ea125858-424b1_inxlimited.htm.
    30
        See, e.g., American CryptoFed DAO, Filings, https://www.sec.gov/edgar/browse/?CIK=1881928 (SEC
staff rejecting S-1 filing for “serious deficiencies” relating to requirements to comply with the form, resulting in
withdrawal); Monster Products, Inc., Filings, https://www.sec.gov/edgar/browse/?CIK=1675583 (same). See
also Carrier EQ, LLC (f/k/a Airfox), Form 8-K (noting the issuer would discontinue the development of
AirTokens because “[c]urrent laws and regulatory regimes do not provide for the Company to utilize the
AirTokens as envisioned by the Company. . . .”); Paragon Coin, Paragon Coin Update (explaining that the
issuer was filing for bankruptcy after its “plans were impossible to achieve due to several legal mistakes”);
Jamie Chacon, Gladius Network shuts down as ICO investors cry foul (Nov. 25, 2019),
https://decrypt.co/12044/gladius-network-shuts-down-ico-investors-cry-foul (issuer shutting down after
settling an SEC enforcement action that required the issuer to register).
                                                        13
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asset securities are available for trading in the U.S. This is despite the fact that the lack of
information that would have been mandated through the registration process would not have
provided material information to the market even if the process had been successfully completed.
Key questions for the Commission to consider and seek public input on:

12) Given the potential non-investment uses of digital assets that the Commission today seems
    to believe may be securities as described in Section II.‎A, and that digital asset securities
    typically operate on decentralized and open-source blockchains that are publicly accessible
    to all, what should be the goal of any registration regime for digital asset securities?

    a) What risks do digital asset securities present that may not be presented by traditional
       securities?

    b) What risks might digital asset securities mitigate, or not present, and how should these
       changes in risk profile be recognized in the kind of disclosures provided to investors?

    c) Who, if anyone, should be responsible for registration when there is no identifiable central
       entity that controls the token or protocol, or when the issuer does not believe registration
       requirements apply?

        i)    If an entity does serve as an issuer for purposes of a registration of an offering of
              digital assets, how long should the “issuer” be responsible for the ongoing disclosure
              requirements that may be required?

        ii)   Are Active Participants responsible for these ongoing disclosure requirements? What
              if the persons who may be properly treated as APs change over time?

        iii) Would such a digital asset security have a means to be offered on a regulated digital
             asset securities trading platform? Should that digital asset still be categorized as a
             security and should it be subject to SEC regulation?

        iv) What regulatory goal would such registration accomplish? Is there a way that
            regulation could be tailored to achieve this goal?

        v) Should the concept of “active participant” exist at all? How does it promote the goals
           of the federal securities laws in reducing information asymmetries?

13) Taking into consideration that a digital asset team’s operations and relationship to the digital
    asset security may differ meaningfully from the relationship between traditional issuers and
    the securities they issue, for example, if they are not receiving any proceeds of an offering,
    should the Commission use its exemptive power under Section 28 of the Securities Act and
    Section 36 of the Exchange Act to exempt certain developers or promoters of digital asset
    securities from registration, and/or ongoing disclosure requirements if the SEC were to
    determine they are subject to its regulatory reach?

14) Should platforms be able to facilitate trading in digital asset securities if the initial offer or sale
    was not registered under Section 5, or the “issuer” of the digital asset security has not
    complied with the requirements of Section 12?



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    a) If there is no central entity that controls the token or protocol, or no one that views
       themselves as an issuer willing or realistically able to comply with the registration
       requirements, should trading platforms be permitted to facilitate the trading of the digital
       asset security if sufficient information about a digital asset security is otherwise available
       to potential investors without mandatory disclosures?

    b) What responsibility and potential liability, if any, would a platform have for the accuracy
       and completeness of the disclosures?

15) Are digital asset “investment contract” securities “equity” securities under Section 12(g)?

16) May a broker-dealer be permitted, under certain circumstances, to facilitate the resale of
    digital asset securities, even if they were initially sold without registration or an available
    exemption?

             B. Relevant Disclosures

The existing registration process for securities offerings requires a number of disclosures
designed to ensure that the market has the same material information about the company as
company insiders have. There are also exemptions from registration for offerings by
entrepreneurs and small companies, but they too have their own regulatory disclosure
requirements. While the required disclosures are fewer and different, they rest on the same
assumptions and the belief that insider information is more limited in type or scope, or that the
investors participating in these exempt offerings have superior access to the insiders and their
information.

Aside from the difficulties with registration, discussed in the section above, there is also a
mismatch between the disclosures required for traditional securities offerings and what investors
in digital asset securities need. As a result, existing disclosure requirements are not
well-designed to meet the regulatory goals of ensuring that the market has the information it
needs about the securities being offered or traded.

Disclosure requirements are the hallmark of the federal securities laws. Rather than judge the
suitability of investments for public investors, the federal securities laws are designed to protect
investors by requiring issuers to provide material information about the securities they issue, and
the risks associated with investing in them, that are both accurate and not misleading.

But the Commission’s disclosure requirements for the offer and sale of securities and ongoing
disclosure requirements are designed for traditional corporate entities that typically issue and
register equity and debt securities. The disclosure requirements under the federal securities laws
focus on disclosure about companies, their management and their financial results—topics that
poorly fit the decentralized and open-source nature of blockchain-based digital asset securities.
Digital asset securities that are not tokenized versions of traditional securities raise different
investor disclosure considerations than ordinary corporate securities. For example, even if these
assets have value primarily based on the promoter’s efforts, they generally do not provide holders
any rights over the residual value of the issuer, or a claim on the issuer’s assets. They are neither
equity nor debt.

Digital assets that the SEC may claim are securities often function on decentralized protocols with
many contributors, and every holder of a digital asset security can typically examine for
                                                   15
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themselves the functionality and governance structure of the asset. As a result, the existing
disclosure requirements are both under-inclusive and overinclusive of the information that is
relevant to an investor in a digital asset security.31 For example, information that may be relevant
to digital asset security investors, such as its “tokenomics” (e.g., the supply schedule of the digital
asset security),32 or on-chain governance (rather than traditional boards of directors), are not
specifically captured by existing disclosure requirements.33

The result of applying existing disclosure requirements to digital asset securities offerings would
be to leave investors exposed. They would be led to believe that information that is irrelevant is
actually important to their decision, while missing several pieces of information that could
significantly affect the value of the digital assets they hold.

Key questions for the Commission to consider and seek public input on:

17) What disclosures should be required for digital asset securities, given their different features
    as compared to traditional securities?

    a) What information about the digital asset security, the underlying platform, and those
       responsible for the development of the digital asset security and the platform should be
       shared with those who are considering acquiring the digital asset security?

    b) What existing disclosure requirements are not applicable to digital asset securities? For
       example, should certain disclosures required under the Williams Act and Section 16 of
       the Exchange Act be modified or exempted for digital asset securities?

    c) What new disclosures should be required?

18) If it is necessary to provide those that are transacting in a digital asset security certain
    information about the digital asset security and related matters on an ongoing basis, how
    should relevant information be disclosed so that it is accessible and useful, taking into
    account the fact that traditional methods of disclosure may be less effective for digital asset
    security investors?

19) Even if the relevant assets were registered or exempt from registration, how would Rule
    15c2-11 apply to broker-dealers facilitating trading in digital asset securities?34 The same

     31
        Chris Brummer, Disclosure, Dapps and DeFi, Forthcoming, Stanford Journal of Blockchain Law and
Policy (Mar. 24, 2022),
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4065143#:~:text=Disclosure%20in%20decentralized%
20finance%20is,know%20what%20they're%20buying.
    32
        See Robert Stevens, What Is Tokenomics and Why Is It Important? (Apr. 11, 2022),
https://www.coindesk.com/learn/what-is-tokenomics-and-why-is-it-important/#:~:text=A%20portmanteau%20
of%20%E2%80%9Ctoken%E2%80%9D%20and,like%20what%20utility%20it%20has.
    33
        See, e.g., Disclosure, Dapps and DeFi, supra note 30 (“[T]he base layer disclosure documents for
securities law fail to anticipate the particular technological features of decentralized technologies and
infrastructures . . . they assume and inquire only into governance, technology, and other operational features
inherent to industrial economies, and which are often different, or altogether absent in digital and
blockchain-based economies.”).
   34
      Rule 15c2-11 generally requires, before a broker-dealer may publish a quotation for a security or
submit a quotation into a quotation medium, that the broker-dealer must have in its possession specified
                                                     16
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    challenges noted above with respect to registration—the difficulty in obtaining information
    about the issuer and the over- and under-inclusive relevancy of the information—apply to the
    information sought by Rule 15c2-11.

20) Should the SEC preempt state blue sky requirements under Section 18 of the Securities Act,
    for example, by determining that for certain transactions, investors are “qualified purchasers”?
    If not, given the limited number of digital asset securities that would be listed on a national
    securities exchange, could a secondary market develop if state-by-state qualification is
    required?

 III.    Trading Digital Asset Securities on National Securities Exchanges

One of the central innovations of digital asset trading technology is the ability of both retail and
institutional traders to have direct access to platforms that execute transactions 24 hours a day,
seven days a week. Transactions settle in real time. And broker-dealer intermediaries are no
longer needed as the digital asset market infrastructure has developed so that exchange and
trading services, clearing, settlement, and custody can be provided effectively and more efficiently
by the same entity.

However, registering a trading platform for digital asset securities faces a series of significant
challenges. Notably, Chair Gensler has suggested that such platforms should register as national
securities exchanges (“NSEs”), rather than alternative trading systems (“ATSs”).35 But existing
NSE regulation does not contemplate the existence of, or need for, disintermediated trading.
Exchanges require membership to trade directly, and such membership is available only to
broker-dealers.36 Moreover, methods of trading securities outside of a NSE—either on ATSs or
over the counter (“OTC”)—also require the use of a broker-dealer. ATSs are themselves
registered as broker-dealers while OTC trading is facilitated by a network of broker-dealers. None
of these models is designed to accommodate direct investor access to a trading venue, which is
wholly inconsistent with the current models of digital asset trading and inserts unnecessary layers
of intermediation.

Another challenge with Chair Gensler’s approach is that it does not contemplate the side-by-side
trading, on the same platform, of digital assets securities and digital assets that are not securities.
This is problematic because trading in digital assets that are securities would entail trading many
that are not. Unlike traditional securities, which are typically purchased using fiat currency, given
the 24/7 trading market, digital assets are often traded for digitally native currencies such as
stablecoins, or a cryptocurrency like Bitcoin, which is a commodity. For example, a trader might
buy U.S. dollar-backed stablecoins and then use these assets as a store of value for purchases
of various other digital assets. We anticipate, given existing practices and preferences in the

information about the security and its issuer that it believes are reliable and materially accurate, and much of
that information be publicly available.
    35
        Gary Gensler, Prepared Remarks of Gary Gensler On Crypto Markets Penn Law Capital Markets
Association Annual Conference (Apr. 4, 2022),
https://www.sec.gov/news/speech/gensler-remarks-crypto-markets-040422.
     36
        Under Section 6(c) of the Exchange Act, only registered broker-dealers may be admitted as members
of a national securities exchange. Further, under Section 6(b) and 19(g), national securities exchanges are
self-regulatory organizations (“SROs”), and are required to enforce their member broker-dealers’ compliance
with the securities laws. As they currently operate and under current law, it is not clear that digital asset
trading platforms could comply with these requirements, nor is it clear there is a regulatory benefit of
requiring that they restructure to do so.
                                                      17
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market, that investors in digital asset securities would buy those assets in the same way, using a
stablecoin or other digital store of value.

To register as an exchange, a person must first meet the definition of “exchange”—including that
it brings together purchasers and sellers of securities.37 Its registration must also be approved by
the Commission, which must consider, by statute, whether the exchange is “so organized and has
the capacity to be able to carry out the purposes of the Exchange Act.” 38 Facilitating the trading
of non-security digital assets, such as Bitcoin, has not yet been recognized as furthering the
purposes of the Exchange Act. For a platform to register as a securities exchange, while also
listing non-securities digital assets, the Commission may need to clarify that registered
exchanges may facilitate trading in both security and non-security digital assets. Finally, securities
on NSEs do not currently trade 24/7, but open and close each day through an auction process on
their listing venue. They must also comply with a number of other regulations, including most
notably Regulation NMS, that may require clarification before they can be easily applied to digital
asset securities exchanges. Regulation NMS, for example, assumes the existence of a national
market for each listed security, and imposes a number of requirements to harmonize pricing and
fees across venues. Digital assets, however, trade on a global scale, with around-the-clock
trading. It is not clear how various provisions of these rules would work in a global, 24/7 market.

Key questions for the Commission to consider and seek public input on:

21) Recognizing the difficulties in determining which digital assets should be properly classified
    as securities under existing legal tests,39 should a platform be permitted to register with the
    SEC as a national securities exchange on the basis that some of the assets on the platform
    may be securities, without making a definitive determination with regard to any particular
    asset?

22) If an asset-by-asset determination must be made, should a single platform be permitted to
    register with the SEC for trading both security and non-security digital assets?

    a) Could such a platform meet the definition of “exchange,” and be organized to carry out
       the purposes of the Exchange Act, even for the non-securities?

    b) Would its rules relating to non-securities be subject to the same requirements as those
       relating to securities?

    c) Would the Commission provide exchanges with legal certainty regarding its security
       versus non-security determinations?

23) Could a national securities exchange facilitating trading in digital asset securities be permitted
    to follow the typical non-intermediary model used by existing non-security digital asset
    exchanges?40

    a) If intermediaries are required:
    37
         Exchange Act § 3(a)(1).
    38
         Exchange Act § 6(b)(1).
    39
         See supra Section ‎I.
    40
       As discussed in Section ‎IV.A below, this model is critical to the operation of digital asset markets and
an improvement from traditional market structures.
                                                       18
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           i)    How would this impact the viability of these platforms, particularly given the
                 challenges of operating a broker-dealer for digital asset securities?41

           ii)   Would the introduction of intermediaries potentially result in increased fees for
                 consumers?

           iii) How could the introduction of new digital asset trading technologies provide better
                investor protections? How should the Commission consider these potential benefits
                as part of any rulemaking?

    b) If intermediaries are not required:

           i)    How would traditional exchange responsibilities, such as operating as an SRO, apply
                 in the context of non-broker-dealer (including retail) users?

           ii)   Would more limited regulatory requirements, such as engaging in market surveillance
                 as an operator of the market, be more appropriate?

24) Would the SEC permit a digital asset security exchange to list digital asset securities that are
    also traded on unregulated platforms, notwithstanding its Section 6(b)(5) concerns raised in
    the spot Bitcoin ETF context?

    a) If not, and given the ease in operating an unregulated trading platform and supporting
       digital asset securities thereon, would such a prohibition have the practical effect of
       applying to virtually all digital asset securities, and thereby harm investors by depriving
       them of any regulated platforms to acquire such assets?

25) Would the full scope of NSE requirements apply to an exchange trading digital asset
    securities? If so:

    a) What would be the appropriate listing standards for digital asset securities? Existing
       listing standards typically consider, among other things, quantitative and qualitative
       standards that are more relevant for corporate securities than digital asset securities.

    b) Could any national securities exchange grant unlisted trading privileges to a digital asset
       security listed on another exchange?

    c) The rules of NSEs generally require that all transactions effected on the exchange be
       cleared through a registered clearing agency; would this be required for digital asset
       securities? See also Section ‎IV.D.

    d) How would the various NMS plans apply?

           i)    Should there be different NMS plans specifically designed and more appropriate for
                 digital asset securities?

           ii)   Would the SROs need to amend their Consolidated Audit Trail rules to contemplate
                 digital asset securities?
    41
         See infra Section ‎VI.B.
                                                     19
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    e) Would Regulation SCI apply? How would its references to “industry standards” be
       interpreted—as applying to the traditional securities industry or the digital asset industry?

26) Would digital asset securities traded on an exchange be deemed NMS securities, and
    therefore NMS stock? NMS stock is defined as any NMS security (generally all
    exchange-listed securities) other than an option. If so:

    a) How would the various requirements under Regulation NMS, which are designed for
       traditional corporate stock and shares of stock, apply?

    b) Would there be a national best bid and offer (“NBBO”) for a digital asset security?

    c) Given 24/7 markets, should non-U.S. trading platforms be included in the NBBO?

    d) What would constitute a “round lot” under Regulation NMS, where digital asset securities
       are not measured in “shares?” Would all orders for and transactions in digital assets that
       are investment contracts be “odd lots” and thus excluded from various aspects of
       Regulation NMS?

    e) How would Rule 611—i.e., the Order Protection Rule, which generally prohibits
       “trade-throughs”—and the relevant exceptions apply?

    f)   What data would be required to be reported to the tape as “core data”?

    g) How would the various other reporting requirements, such as under Rules 605 and 606,
       which contemplate shares of stock, apply?

    h) What pricing increment(s) would be permitted under Rule 612, which prohibits sub-penny
       quotations for stocks priced at $1.00 or more per share?

27) How would Regulation SHO apply?

    a) Would exchange-listed digital asset investment contracts be considered equity securities
       for purposes of Rule 200(g), Rule 203, and Rule 204?

    b) Would exchange-listed digital asset investment contracts be “covered securities,” by
       virtue of being “NMS stocks,” for purposes of Rule 201?

 IV.     Custody of Digital Asset Securities

             A. Digital Asset Trading Platforms

One of the most significant innovations of digital assets is the ability to conduct “real-time” or T+0
settlement. Existing regulations regarding the custody of securities, however, make it impossible
to realize this considerable benefit. While custody rules for traditional securities are appropriately
motivated by a clear regulatory interest—ensuring that customers can rely on their assets being
held securely—they allow trades to settle on a T+2 timeframe. This delay permits third-party
intermediaries to settle transactions. But if the settlement timeframe is compressed to seconds,
reliance on third parties becomes impossible.

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Traditional securities are typically held on behalf of investors by a custodial bank or broker-dealer
(themselves holding through the Depository Trust Company). This facilitates post-trade
settlement through existing channels and permits an investor to centralize their cash and
securities with third-party custodians, making trading on multiple venues more capital-efficient.
However, it means that real-time settlement (i.e., “t-zero” settlement) is not possible given that the
third-party custodians must facilitate post-trade settlement.

The structure of existing digital asset trading platforms is different. Real-time settlement is
expected because it is inherent to blockchain technology. Transfers of digital assets do not
require intermediaries. But in order to provide real-time settlement off-chain, existing digital asset
trading platforms must settle transactions on their own books—as opposed to the books of
third-party custodians. Digital asset trading platforms can only settle transactions on their own
books if they custody the digital assets themselves, which explains the difference in market
structure.

The need to provide custody services to customers means that digital asset trading platforms
may wish to register as a broker-dealer, or register an affiliate as a broker-dealer.42 For the
real-time settlement model to work, all users of the platform would in turn be required to custody
their assets with that custodian, through the same broker-dealer. Once again, existing rules
present a roadblock.

First, real-time settlement means that clearing is not necessary. Clearing exists because there is
a risk that, between the time the trade is made and when it settles, one party may fail to deliver
either the money or the assets. That risk diminishes as the time lag disappears. Without the risk
created by the time lag between execution and settlement, many of the rules related to clearing
may not be necessary. On the other hand, new rules may be required to account for a unique
feature of the blockchain—that entries are immutable. Whereas traditional markets can unwind
transactions that are completed in error, fraudulently, or without proper authorization, this is not
possible with digital asset securities. Reversing a transaction would require a new transaction.

The direct-trading model, and its need for exchange-based custody, also raises questions under
Section 6(b)(2) of the Exchange Act, the “fair access” rule. This rule generally requires
exchanges to allow any broker-dealer to become a member. This requirement may prohibit a
digital asset security exchange from limiting membership to that one broker-dealer (i.e., itself or
its affiliate). The alternative, admitting several broker-dealers as members that each separately
handle custody of its own customers’ securities, again prevents real-time settlement because it
would require the introduction of post-trade netting and a clearing agency (to settle all of the
trades of the various brokers). If digital asset platforms register as exchanges, they must, under
current rules, allow other brokers to access the platform. This requirement has the effect of
requiring clearing, and therefore eliminating the ability to effectuate real-time settlement, which
was the purpose of the exchange custodying assets in the first place.

     42
        Although “mere custody” of securities, on its own, may not itself require a firm to register as a
broker-dealer, the Commission and its Staff have regularly viewed custody combined with transaction
execution or other services as potentially requiring registration under Section 15(a). See, e.g., Transfer
Online, SEC Denial of No-Action Request (May 3, 2000) (transfer agent may be subject to broker-dealer
registration when, in addition to custody services, it brings buyers and sellers of securities together,
receiving a fee based on the completion of a transaction); M&A Brokers, SEC No-Action Letter (Jan. 31,
2014); GlobalTec Solutions, LLP, SEC No-Action Letter (Dec. 28, 2005); Swiss American Securities, Inc.,
Streetline, Inc., SEC No-Action Letter (in each case, granting relief from broker-dealer registration where the
proposed services did not also include custodying investors funds or securities).
                                                      21
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Additionally the SEC has traditionally been hesitant to allow an exchange, or an affiliate of an
exchange, to act as a full-service broker for customers on the exchange because of (i) the
potential unfair advantage that one broker-dealer would have, and (ii) conflicts of interest the
exchange would face in regulating its affiliated broker-dealer member.43 When there are only a
handful of large exchanges, these concerns are valid. In the digital assets markets, however,
because trading platforms also serve as custodians and because most trades occur directly,
without an intermediary, the competition for customers is between exchanges, not between
brokers. This structure, in which customers trade directly on the platform, also significantly mutes
any risk that a platform could provide undue advantage to its own broker-dealer; the broker and
the platform operate as one service for the customer. It is a fundamentally different business
model and therefore presents a different set of risks, necessitating a different regulatory regime.

Key questions for the Commission to consider and seek public input on:

28) Can a digital asset securities exchange provide custody of digital asset securities without also
    being subject to registration as a broker-dealer?

29) If broker-dealer registration would be required, would a digital asset securities exchange be
    permitted to limit membership to one affiliated broker-dealer?

30) Would a digital asset securities exchange be permitted to custody both digital asset securities
    and non-security digital assets?

31) Given the differences in business models between traditional securities markets and digital
    asset markets, what risks might be presented by a digital securities trading platform that do
    not exist for traditional platforms or exchanges? What risks exist for traditional trading
    venues that would not exist for digital asset security trading venues?

              B. Broker-Dealers

Custody rules present a second major hurdle for digital asset securities markets. As noted
above, custody requirements embrace the traditional intermediated model, and provide detailed
requirements for how intermediaries may safeguard customer assets, making them difficult to
apply to digital asset markets. But these requirements are based on the assumption that
assets–or more accurately the proof that a person holds the asset–takes a certain physical form.
Proof of ownership of digital assets is represented differently. The Commission has not yet put

      43
         See, e.g., Order Approving Proposed Rule Change by the Pacific Exchange, Inc., as Amended, and
Notice of Filing and Order Granting Accelerated Approval to Amendment Nos. 4 and 5 Concerning the
Establishment of the Archipelago Exchange as the Equities Trading Facility of PCX Equities, Inc., Exchange
Act Release No. 44983 (Oct, 25, 2001) (“The Commission recognizes that the potential for unfair
discrimination may be heightened if a national securities exchange or its affiliate owns or operates a broker
dealer. This is because the financial interests of the national securities exchange may conflict with its
responsibilities as an SRO regarding the affiliated broker-dealer. For this reason, the national securities
exchange must not serve as the self-regulatory organization that is primarily responsible for examining its
affiliated broker-dealer. Moreover, a conflict of interest would arise if the national securities exchange (or an
affiliate) provided advantages to its broker-dealer that are not available to other members, or provided a
feature to all members that was designed to give its broker-dealer a special advantage”). The Commission
has also required national securities exchanges to implement rules prohibiting such exchanges from being
affiliated with a broker-dealer member without prior SEC approval. See, e.g., New York Stock Exchange
Rule 2B; Nasdaq Stock Market, General Rule 2, Section 4(a); Cboe BZX Exchange Rule 2.10.
                                                       22
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forward a workable means of achieving the regulatory goal of broker-dealer custody rules:
ensuring that customer assets are securely held while facilitating the trading in which customers
wish to engage.

Rule 15c3-3, known as the “Customer Protection Rule,” is central to this issue. The rule requires
that a broker-dealer maintain “physical possession” or “control” over customers’ fully paid and
excess margin securities in particular ways set out in the rule, such as by holding the paper
security certificate (physical possession) or holding through a bank or clearing agency (control).
Rule 15c3-3, originally adopted in 1972, does not list holding blockchain private keys as a
permitted method of physical possession or control, and the SEC Staff’s general position has
been that holding blockchain private keys does not qualify as good physical possession or
control.44

Rather, the staff has suggested that broker-dealers effectively must avoid becoming subject to the
rule, by only facilitating transactions in digital asset securities that do not involve the broker-dealer
maintaining custody.45 Furthermore, even though, by its terms, Rule 15c3-3 applies to cash and
securities, the Staff has suggested that broker-dealers would be required to comply with the
possession or control obligations even when custodying digital assets that are not securities.

The SEC has attempted to provide a path forward. These attempts, however, are time-limited,
not enshrined in final rules, and have ultimately proved not to be workable. In September 2020,
the SEC Staff approved a process by which ATSs could facilitate transactions in digital asset
securities, where custody is maintained by a third-party custodian (the “Three-Step No-Action
Letter”),46 and in December 2020, the Commission released a time-limited conditional no-action
position related to broker-dealer custody of digital assets (the “Commission No-Action
Position”).47 Both documents required significant limitations on the business activities of
broker-dealers who custody digital assets, and do not present a workable solution. We are not
aware of any firms that have sought to rely on the Commission no-action position. As a result,
even if a digital asset security exchange were to adopt a broker-intermediated model, there
appear to be no broker-dealers that could act as members because of Rule 15c3-3 and the
limitations of the SEC’s current “special purpose” digital asset security custody position.48

As part of issuing its December 2020 no-action position, the Commission requested comment
from the public on its approach.49 Despite receiving dozens of comment letters in response to its
request, the Commission has not revised its position or used these comments to inform

     44
        SEC, Joint Staff Statement on Broker-Dealer Custody of Digital Asset Securities (July 8, 2019),
https://www.sec.gov/news/public-statement/joint-staff-statement-broker-dealer-custody-digital-asset-securitie
s (the “Joint Staff Statement”).
    45
         Id.
    46
       FINRA, SEC No-Action Letter at 2 (Sept. 25,
2020), https://www.sec.gov/divisions/marketreg/mr-noaction/2020/finra-ats-role-in-settlement-of-digital-asset
-security-trades-09252020.pdf.
    47
       Custody of Digital Asset Securities by Special Purpose Broker-Dealers, Exchange Act Release No.
34-90788, 86 Fed. Reg. 11,627 (effective Apr. 27,
2021), https://www.sec.gov/rules/policy/2020/34-90788.pdf.
    48
        See, e.g., Hester M. Peirce, Statement, In the Matter of Poloniex, LLC (Aug. 9, 2021),
https://www.sec.gov/news/public-statement/pierce-statement-poloniex-080921 (noting the limited usefulness
of the SEC’s no-action relief).
    49
         Commission No-Action Position, supra note 46 at 16–17.
                                                     23
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rulemaking.50 We urge the Commission to reengage on this issue to find a workable solution that
provides robust customer protection while also enabling investors to access the digital asset
securities markets.

Broker-dealers are also subject to Rule 15c3-1, known as the “Net Capital Rule.” The Net Capital
Rule is designed to ensure that broker-dealers maintain sufficient unencumbered, liquid capital
available at all times to satisfy customer claims promptly. A broker-dealer’s net capital is
calculated by starting with its net worth under generally accepted accounting principles
(“GAAP”),51 and then making various adjustments prescribed by the rule, in particular, deducting
non-allowable assets such as those not readily convertible into cash.52 While customer assets
custodied by a broker-dealer are typically not recorded on a broker-dealer’s balance sheet, recent
SEC Staff guidance (“SAB 121”)53 announced the SEC accounting Staff’s view that certain
entities that hold custody of customers’ digital assets should account for their obligation to
safeguard the digital assets by recording (i) a liability on their balance sheet for their obligation to
return the digital assets, and (ii) an offsetting asset “similar in nature to an indemnification asset,”
but “separate and distinct from the crypto-asset itself”—i.e., essentially a “stub” accounting
entry.54

While by its terms aimed at issuers of securities and SEC reporting companies, it is not clear the
extent to which the SEC Staff would view SAB 121 as applicable to broker-dealers that hold
custody of digital asset securities for customers, where those broker-dealers are not issuers or
reporting companies.55 If SAB 121 applies to a broker-dealer’s financial accounting, all digital
assets and digital asset securities custodied by a broker-dealer for its customers would be added
to the broker-dealer’s liabilities, thus decreasing the broker-dealer’s net worth under GAAP. And
on the other side of the balance sheet, although the broker-dealer would be able to add some
type of offsetting stub asset entry, such an asset would likely be deemed “not readily convertible
into cash” under the Net Capital Rule, as there is no market for this accounting stub. For
purposes of computing a broker-dealer’s net capital, therefore, its liabilities would increase by the
fair value of the digital asset securities held in custody, while its allowable assets would not
increase by a corresponding amount. Accordingly, for every dollar worth of digital asset securities
custodied, the broker-dealer would have a dollar reduction in its net capital, which the
broker-dealer would need to replace with allowable assets. In effect, the parent company of the
broker-dealer would need to contribute a dollar of cash as additional equity into the broker-dealer
for every dollar worth of digital asset security custodied by the broker-dealer. Such a business
model would, of course, be non-economic and unsustainable, and no broker-dealers would be
able to offer custody services in digital asset securities.

Key questions for the Commission to consider and seek public input on:

32) Is it practical for digital asset security trading platforms to operate in a non-custodial manner
    as suggested by the Joint Staff Statement or the Three-Step No-Action Letter?


    50
        SEC, SEC Policy Statement: Custody of Digital Asset Securities by Special Purpose Broker-Dealers
(last modified May 3, 2022), https://www.sec.gov/comments/s7-25-20/s72520.htm.
     51
        See Exchange Act Rule 15c3-1(c)(2) and Interp. /01.
     52
        See Exchange Act Rule 15c3-1(c)(2)(iv).
     53
        SEC, Staff Accounting Bulletin No. 121, https://www.sec.gov/oca/staff-accounting-bulletin-121.
     54
        Id. at n.8.
     55
        SAB 121 by its terms applies to “crypto-assets,” which would appear to include digital asset
securities, as SAB 121 defines the term broadly as “digital asset[s] that [are] issued and/or transferred using
distributed ledger or blockchain technology using cryptographic techniques.” Id. at n.3.
                                                      24
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33) How should “possession” and “control” be understood with regard to custody of digital asset
    securities?

34) Should banks or trust companies, to the extent permitted to provide custody services
    pursuant to their applicable regulatory regime, be eligible to act as “good control locations”
    through which broker-dealers could maintain custody of their customers’ digital asset
    securities (and non-security digital assets) in compliance with Rule 15c3-3?

    a) Under the existing Customer Protection Rule, banks can serve as good control locations
       for securities under Rule 15c3-3;56 is there any basis to treat digital asset securities
       custodied with a bank differently?

35) How should Rule 15c3-3 be amended to explicitly consider its application to digital assets?

36) What protections or structures would be appropriate to adequately protect customers in the
    event of the insolvency of a broker-dealer that custodies digital assets for customers (whether
    securities or not)?

37) Should non-security digital assets be subject to Rule 15c3-3 at all, given that they are neither
    cash nor securities?

38) What best practices exist for the custodying of digital assets that should be adopted as
    requirements through securities regulation?

39) What benefits does distributed ledger technology offer with respect to transparency of
    transaction activity that might address risks addressed through regulation for traditional
    securities? What new risks does the technology introduce regarding mistaken or
    unauthorized transactions, and how can these risks be mitigated through regulation?

40) How should Rule 15c3-1 be amended to explicitly consider its application to digital assets,
    including with regards to digital assets held by customers, in inventory, or used as collateral?

41) If a broker-dealer holds custody of digital asset securities, would SAB 121 apply to the
    broker-dealer’s capital requirement calculations? If SAB 121 does apply:

    a) Would the SEC consider adjusting net capital calculations under Rule 15c3-1 so that
       broker-dealers with material custody business are not effectively prevented from meeting
       their net capital requirements?

42) Would the SEC permit the offsetting stub asset to be allowable for purposes of a
    broker-dealer’s net capital, even though it may not be readily convertible into cash?

               C. Requirement for and Role of Transfer Agents

Distributed ledger technology provides an unchangeable record of transactions, visible to all.
This could revolutionize how transfer agents can facilitate securities trades. Before the advent of
blockchain technology, there was no way to ensure that transactions were recorded accurately
and records were properly maintained without the use of third parties. To facilitate the traditional
    56
         Exchange Act Rule 15c3-3(c)(5).
                                                 25
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intermediated market structure, transfer agents were established to record changes of ownership,
maintain the issuer’s security holder records, cancel and issue certificates, and distribute
dividends. Some transfer agents are required to be registered with the SEC, or if the transfer
agent is a bank, with a bank regulatory agency. Blockchain technology offers to improve this
process, performing most if not all of these tasks, with limited labor costs, and without the risks of
human error.

It is not clear, however, that existing rules will permit the use of this new technology. We
understand that the Commission has only been willing to approve offerings of securities involving
a transfer agent where that transfer agent has ultimate control over the official stockholder
registry of a security, including the ability to unilaterally make changes to it (e.g., per a court order
or to correct errors).57 Based on structures that have been approved, it appears that the SEC has
not permitted a registered transfer agent to look to a blockchain as its official stockholder registry,
and has required that the transfer agent know the identity of each registered owner.58 This
position prevents the securities markets from realizing the efficiencies offered by the new
blockchain technology, harming investors, markets, and issuers alike.

Key questions for the Commission to consider and seek public input on:

43) Is a transfer agent necessary for digital asset securities, where records of ownership, at least
    pseudonymously, are publicly available?

44) How may a person properly act as a transfer agent of a digital asset security, given the nature
    of blockchain-based assets?

45) Are there circumstances under which a registered transfer agent should be able to look to the
    blockchain as its official records?

               D. Clearing Agency Status of Blockchains

There is currently uncertainty surrounding whether the blockchain, the nodes, miners, or
validators on the blockchain, or others involved in facilitating the blockchain, are acting as a
“clearing agency” and subject to registration with the SEC. A person who engages in “clearing”
activities must generally register with the SEC as a clearing agency. A person is a “clearing
agency” if, among other things, it acts as an “intermediary in making payments or deliveries or
both in connection with transactions in securities,” it “acts as a custodian of securities in
connection with a system for the central handling of” fungible securities, or it “otherwise permits or
facilitates the settlement of securities transactions . . . without physical delivery of securities
certificates.”59



    57
        See, e.g., Arca U.S. Treasury Fund, Form N-2,
https://www.sec.gov/Archives/edgar/data/1758583/000121465920005869/s624200n2a2.htm (“Although
records of peer-to-peer transactions are viewable on Ethereum, record and beneficial ownership of the
Fund’s shares is reflected on the records of DTAC, LLC, the Fund’s transfer agent (the ‘Transfer Agent’).
The Transfer Agent is regulated by the Securities and Exchange Commission (‘SEC’). The Transfer Agent’s
records constitute the official shareholder records of the Fund and govern the record ownership of ArCoins
in all circumstances.”).
    58
         See id.
    59
         Exchange Act § 3(a)(23).
                                                    26
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Given the functionality of various components of blockchain technology, it is possible that any or
all of these components may be erroneously labeled “clearing agencies.” Because a blockchain
and each of its components operates without central control, it is not clear how it or any part of it
could register as a clearing agency. Nor is the relevance or workability of clearing agency rules
evident in the context of digital asset trading occurring on blockchain technology. Many of the
rules applicable to clearing agencies are designed to ensure that there is clarity regarding how
trades are settled, ensuring it operates fairly and in good faith with respect to all parties, and
establishing it as a means of promoting compliance throughout the market. Once again,
blockchain technology is specifically designed to mitigate many of the risks that regulation of
clearing agencies is intended to address, such as ensuring trades settle, in an open, transparent,
and provably final way. Therefore, not only is it unclear how the blockchain or other similar
technology could register, it is not clear that the rules applicable to clearing agencies are needed
with respect to digital asset securities.

Key questions for the Commission to consider and seek public input on:

46) Does the Commission view a blockchain on which digital asset securities may be transferred
    to be acting as a clearing agency? What risks does a blockchain present that would justify
    the application of these regulations? What risks does a blockchain mitigate that are
    presented by traditional clearing agencies? What new risks does blockchain present?

47) If so, who would be required to register? Each node, miner, or validator? A group
    representing them? Would this be practical, considering the often highly distributed nature of
    nodes, miners, and validators?

    a) How would nodes, miners and validators satisfy the requirements to assure fair
       representation of their members and participants in the selection of their directors and the
       administration of their affairs, particularly where there are no formalized members,
       participants, or directors?60

    b) Would nodes, miners, and validators be required to become SROs like other clearing
       agencies?61 If so, would changes to the network require filings with and approval by the
       SEC under Rule 19b-4?

    c) Would nodes, miners, and validators be required to establish, implement, maintain and
       enforce the detailed written policies and procedures mandated by Exchange Act Rule
       17Ad-22(e)?

    d) Would Regulation SCI apply to nodes, miners, and validators?62 How would its references
       to “industry standards” be interpreted—as applying to the traditional securities industry or
       the digital asset industry?

    e) Would nodes, miners, and validators be subject to examination by the Office of
       Compliance Inspections and Examinations’ Office of Clearance and Settlement?




    60
       Exchange Act § 17A(b)(3)(C).
    61
       Exchange Act § 3(a)(28).
    62
       17 CFR 242.1000 (including registered clearing agencies in the definition of “SCI SROs”).
                                                    27
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48) Given the typical permissionless nature of blockchains, how could registration be effected or
    enforced?

49) Could a broker-dealer or exchange facilitate trading of a digital asset security that could, or
    must, be settled over a blockchain that is not registered as a clearing agency?

50) In light of the difficulties described above with any potential registration, would the
    Commission offer a class exemptive order excluding blockchains from clearing agency
    registration? What conditions would be appropriate?

  V.     Necessary Preconditions to Rulemaking

The questions and challenges in this petition highlight the difficult and complex legal, policy, and
technical considerations relating to the application of the existing federal securities law regime to
digital asset securities. To properly weigh the costs and benefits raised by digital asset security
activities, and to understand the market, practices, and needs of investors and market
participants, the SEC should engage with all relevant stakeholders to inform the rulemaking we
suggest above. We believe the Commission should take the following steps:

First, the SEC needs to seek input from market participants. The SEC has not yet obtained
widespread public input, as it frequently does for novel and significant rulemakings. Rather, to
date, the SEC has primarily engaged through non-public, bilateral discussions with particular
industry members, or through enforcement investigations. It also does not appear that the SEC
has engaged with, or solicited input from, retail investors. There is also no representation from the
digital asset community on the Investor Advisory Committee or any of the SEC’s other advisory
committees.

The Commission has frequently used requests for comment, concept releases, advisory
committees, and public roundtables to obtain useful public input prior to proposing specific
rulemaking items. For example, the SEC first solicited public comment on climate disclosure in
March 2021, a full year before proposing climate disclosure rules and, similarly, the SEC issued a
concept release on the harmonization of securities offering exemptions in 2019, over a year
before adopting rules.63 The SEC has also pursued these forms of public engagement to obtain
information about many other areas of potential rulemaking, including with regard to equity
market structure, fixed income market structure, transfer agent regulation, “proxy plumbing,” and
emerging market considerations, among others. Banking regulators have similarly solicited public
input on digital assets, for example by issuing requests for information.64




    63
        Acting Chair Allison Herren Lee, Public Input Welcomed on Climate Change Disclosures (Mar. 15,
2021), https://www.sec.gov/news/public-statement/lee-climate-change-disclosures; SEC, The Enhancement
and Standardization of Climate-Related Disclosures for Investors (Mar. 21, 2022),
https://www.sec.gov/rules/proposed/2022/33-11042.pdf; SEC, Concept Release on Harmonization of
Securities Offering Exemptions (June 18, 2019), https://www.sec.gov/rules/concept/2019/33-10649.pdf
(Concept Release; Request for Comment); SEC, Facilitating Capital Formation and Expanding Investment
Opportunities by Improving Access to Capital in Private Markets (Nov. 2, 2020),
https://www.sec.gov/rules/final/2020/33-10884.pdf (Final Rule).
     64
        FDIC, FDIC Issues Request for Information on Digital Assets (May 17, 2021),
https://www.fdic.gov/news/press-releases/2021/pr21046.html.
                                                    28
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One of the key reasons to conduct public outreach is to ensure that the rules proposed will
actually function as intended when put into practice. Given the considerable differences in how
digital assets operate, such input would help the Commission to understand the risks and how
best to mitigate them. Thoughtful digital asset security rulemaking will require input from
professionals with a deep technical expertise in the operation of digital assets and markets.

Second, the SEC’s approach to digital asset regulation should be informed by ongoing
developments in the executive and legislative branches. The Biden Administration has
commissioned a number of reports on digital assets from various agencies in its March 2022
Executive Order,65 and this work has only just begun. The Commission itself is requested to
contribute to two of these reports, and the knowledge that the Commission gains through this
process will be critical to any Commission rulemaking. Congress is also actively working on
legislation that could materially affect the regulatory landscape.66

Third, coordination between the SEC and other agencies, most notably the CFTC, is critical.
CFTC Commissioner Pham and SEC Commissioner Peirce have recently recommended such
joint collaboration, noting that “crypto is still early in its development,” and such cooperation
“would benefit the capital markets, not just the crypto markets.”67

                                            *        *        *

The core question is how best to achieve the SEC’s mission and promote the innovation and
application of digital assets and blockchain technology within the capital markets and our
economy more broadly. How best to regulate digital asset securities raises complex and novel
issues, and will require thoughtful and rigorous engagement with all stakeholders. We appreciate
the opportunity to provide input to the Commission on these important matters and hope the
Commission will seek broad public input on how digital asset securities markets can be
appropriately regulated in a manner that facilitates investor protection, capital formation, and
efficient markets with the integrity investors and other market participants have come to expect.
For that reason, we respectfully petition the Commission to solicit broader input from the public to
address all relevant questions and challenges related to the regulation of digital asset securities
with the goal of informing an important rulemaking on this subject. As noted above, we are

    65
        Biden Administration, Executive Order on Ensuring Responsible Development of Digital Assets
(March 9, 2022),
https://www.whitehouse.gov/briefing-room/presidential-actions/2022/03/09/executive-order-on-ensuring-resp
onsible-development-of-digital-assets/.
     66
        See, e.g., Lummis-Gillibrand Responsible Financial Innovation Act (released June 7, 2022),
https://www.lummis.senate.gov/wp-content/uploads/Lummis-Gillibrand-Responsible-Financial-Innovation-Act
-Final.pdf.
    67
        Caroline D. Pham and Hester M. Peirce, Making progress on decentralized regulation — It’s time to
talk about crypto together (May 26, 2022),
https://thehill.com/blogs/congress-blog/3503277-making-progress-on-decentralized-regulation-its-time-to-tal
k-about-crypto-together/ (“As an initial step, we are calling on our agencies to hold a joint set of public
roundtables to evaluate recent market events and risks, and to discuss how to regulate crypto responsibly.
These roundtables would be open to the public, and panelists would include crypto users, investor and
customer advocates, industry members, and other regulators. The goal would be to assess whether new
regulations are necessary to protect the public and the markets, how existing regulations might be
modernized to better account for innovation, and how technology is likely to reshape our markets. We could
start with topics such as digital asset trading platforms, crypto derivatives, stablecoins, decentralized
finance, and the balance between privacy and anti-money laundering measures.”).
                                                    29
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committed to this endeavor as well, and expect to submit our thoughts on how to address some
of these challenges in a series of follow-up responses to this petition.

We would be pleased to answer any questions the Commission or its Staff may have regarding
our petition. We appreciate the Commission’s continuing attention to this important matter and for
allowing us an opportunity to present our views.




Sincerely,




Paul Grewal

Chief Legal Officer

Coinbase Global, Inc.




cc:
Hon. Gary Gensler, Chair
Hon. Hester Peirce, Commissioner
Hon. Caroline Crenshaw, Commissioner
Hon. Mark Uyeda, Commissioner
Hon. Jaime Lizárraga, Commissioner




                                                30
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                                                  Appendix

                                 A Brief Overview of Howey and Reves

Howey

Whether an instrument constitutes an “investment contract” is determined by reference to a test
articulated by the Supreme Court in SEC v. W.J. Howey Co.68 In 1946, the Supreme Court
articulated the Howey test in a case involving speculative investments by purely financially
motivated parties in a Florida citrus grove profit-generating enterprise—activity plainly within the
scope of the federal securities laws. The Court held that the investments amounted to
“investment contracts” and thus “securities” because they involved each of the following features:

           (1) an investment of money;

           (2) in a common enterprise;

           (3) made with a reasonable expectation of profits; and

           (4) based predominantly upon the entrepreneurial or managerial efforts of the promoter or
           other third parties.69

In analyzing whether a particular instrument is an investment contract, the Supreme Court has
emphasized that “form should be disregarded for substance and the emphasis should be on
economic reality.”70 The SEC has adopted a similar position, indicating that “[d]etermining
whether a transaction involves a security does not turn on labelling . . . but instead requires an
assessment of the economic realities underlying a transaction . . . . All of the relevant facts and
circumstances are considered in making that determination.”71 An asset must meet each
requirement of the Howey test to be an investment contract.

Reves

The Reves test was articulated by the Supreme Court in 1990 to interpret the term “any note.” It is
unreasonable to think Congress intended to apply federal securities regulation to every
“note”—otherwise a homeowner would have to file a registration statement with the SEC when
signing a mortgage note and could only refinance that note through a broker-dealer. Accordingly,
the Court laid out a test that considers:

           (1) the motivations of the buyer and seller;

    68
         328 U.S. 293, 301 (1946).
    69
      Id. (“The test [for an investment contract] is whether the scheme involves an investment of money in a
common enterprise with profits to come solely from the efforts of others.”); see also Int’l Bhd. of Teamsters,
Chauffeurs, Warehousemen & Helpers of Am. v. Daniel, 439 U.S. 551, 558–62 (1979); SEC v. Edwards, 540
U.S. 389, 393 (2004).
    70
        United Housing Found., Inc. v. Forman, 421 U.S. 837, 848–49 (1975) (internal quotation marks and
citations omitted).
    71
         In re Munchee, Inc., Securities Act Release No. 10445, at 9 (Dec. 11, 2017).

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           (2) the plan of distribution of the instrument;

           (3) the reasonable expectations of the investing public; and

           (4) the presence of an alternative regulatory or other risk-reducing regime.72

Unlike the Howey test, which requires satisfaction of each of its requirements for an asset to be
deemed a security, the Reves test is simply a set of factors that a court should consider in making
its decision, with no one factor being dispositive or entitled to a particular weighting.




    72
         Reves v. Ernst & Young, 494 U.S. 56, 66–67 (1990).
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